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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA                             [ . :.L N 51'4ICK 0I`d
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UNITED STATES OF AMERIC A                                                      ,t~    nt-•



                                                          CASE NO . : CR205-3 4
                 V.

MOHAMMED SHAUKAT JAMAL
ASHISKUMAR G . PATEL
HERMANT K . PATEL
YOGESHUMAR PATEL
SANJAYKUMAR A . PATEL


                                          ORDER

       Let a copy of this Report and Recommendation be served upon the parties . The

parties will be allowed until November 3, 2005 , to file objections . If no objections are made,

this Report and Recommendation will be adopted as a record of the proceedings and may

become the opinion and order of the Court. Nettles v . Wainwright, 677 F.2d 404 (5th Cir .

Unit B 1982) .

       All requests for additional time to file any objections to this Report and

Recommendation should be filed with the Clerk for consideration by the undersigned .

       The Clerk of Court is directed to submit the Report and Recommendation wit h

objections, if any, on or before the 4th day of       November      , 2005 .

       SO ORDERED , this 25 day of October, 2005.



                                                  J MES E . GRAHAM
                                                    NITED STATES MAGISTRATE JUDGE
